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             UNITED STATES BANKRUPTCY COURT

                     DISTRICT OF OREGON


                                   Case No. 17-33027-pcm13
In re
                                   Adv. Proc. No.
Michael Richard Krueger
Mary Kathleen Krueger,             COMPLAINT

                  Debtors.


Michael Richard Krueger,

                  Plaintiff,

        v.

Eric Green,

                  Defendant.




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                                     1.

               JURISDICTION AND THE PARTIES

      This Court has jurisdiction under 28 U.S.C. § 1334 because the

automatic stay arises under Title 11. Venue is proper because defendant

harassed plaintiff with collection activity against his will while he was

under the protection of the Oregon Bankruptcy Court’s automatic stay.

                                     2.

      Defendant Eric Green is an individual creditor in plaintiff’s

bankruptcy case. Defendant’s choice to garnish plaintiff’s earnings was

in pursuit of profit and constituted a wanton, outrageous and oppressive

violation of plaintiff’s right to be free from collection activity during

bankruptcy.

                                     3.

      Plaintiff Michael Richard Krueger filed for bankruptcy protection

under Chapter 13 of Title 11 in case number 17-33027 in the District of

Oregon on August 11, 2017. Plaintiff filed bankruptcy specifically to stop

collection activity from creditors. The automatic stay provided plaintiff

a substantive right to be free from unwanted collection activity during

bankruptcy. This complaint’s allegations are based on personal

knowledge as to plaintiff’s behavior and made on information and belief

as to the behavior of others.




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                                    4.

                        NATURE OF CLAIM

      Plaintiff’s automatic stay claim is a core proceeding under

28 U.S.C. § 157(b)(2) and plaintiff consents to entry of final orders and

judgments by the Oregon Bankruptcy Court in this adversary

proceeding.

                                    5.

                     FACTUAL ALLEGATIONS

      On August 11, 2017, plaintiff filed for bankruptcy protection

under Chapter 13 of Title 11. Defendant was mailed written notice of

plaintiff’s bankruptcy case from the bankruptcy noticing center, both

personally, and care of his attorney, by first class mail on August 13,

2017. The notice warned defendant that the filing of plaintiff’s

bankruptcy case imposed an automatic stay. The notice warned

defendant that the automatic stay prohibited collection activities, and

that defendant could not take action to collect debt from plaintiff. The

notice warned defendant that creditors who violate the automatic stay

can be required to pay actual and punitive damages and attorney’s fees.

                                    6.

      On November 13, 2017, defendant filed an adversary proceeding

complaint against plaintiff in his bankruptcy case.




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                                    7.

      Despite receiving notice that plaintiff was in an active Chapter 13

case, and that the automatic stay applied to defendant’s debt, and that

the automatic stay prohibited defendant from continuing to collect on its

debt, defendant intentionally harassed plaintiff by causing a writ of

garnishment dated May 30, 2018 to be served on defendant’s clearing

firm during the automatic stay.

                                    8.

      Defendant’s conduct as alleged above caused plaintiff harm to

reputation with his clearing firm, the inability to pay bills and operate

his business, and caused severe ongoing emotional harm, including

upset and anxiety about losing his license, and other harm separate

from the average stress of the normal bankruptcy process. In drafting

11 U.S.C. § 362 with a private right of action, Congress elevated the

right of debtors such as plaintiff to be completely free from collection

activity during bankruptcy. The invasion of that right by defendant is a

concrete injury in fact for which this Court may provide relief.




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                                     9.

                         CAUSE OF ACTION

                           11 U.S.C. § 362(k)

      11 U.S.C. § 362(a) imposed an affirmative duty on defendant to

promptly terminate all collection activity against plaintiff after learning

plaintiff filed bankruptcy. Defendant’s violation of 11 U.S.C. § 362(a) as

alleged in this complaint was “willful” as that term is defined in the

Ninth Circuit because his acts and omissions were intentional, he had

prior actual knowledge of the automatic stay, his behavior was

unreasonable, and any alleged mistake of law was not a defense.

                                     10.

      Under 11 U.S.C. § 362(k), plaintiff is entitled to compensation for

actual damages, punitive damages, and reasonable fees and costs from

defendant in amounts to be decided by the Court.




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                                     11.

                        PRAYER FOR RELIEF

      After a stipulation or determination that defendant willfully

violated the automatic stay, plaintiff seeks relief as follows:



   A. A money judgment in favor of plaintiff against defendant for

      actual damages and punitive damages, and for reasonable fees

      and costs incurred prosecuting this adversary proceeding.


      Plaintiff also seeks any equitable relief this Court may determine

is fair. Plaintiff may intend to amend this complaint to include

additional defendants as new information is learned through discovery.


June 20, 2018

                                  RESPECTFULLY FILED,

                                  /s/ Michael Fuller
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